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10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 93-1027-TJH

13             Plaintiff,                     JOINT MOTION FOR REDUCTION OF
                                              SENTENCE PURSUANT TO SECTION 404
14                   v.                       OF THE FIRST STEP ACT

15   IRA VINCENT SPEARMAN,

16             Defendant.

17

18        Plaintiff United States of America, by and through its counsel
19   of record, the United States Attorney for the Central District of
20   California, and defendant Ira Spearman (“defendant”), by and through
21   his counsel of record Michael Romano, hereby stipulate that the Court
22   should enter an amended judgment reducing defendant’s sentence to 341
23   months’ imprisonment pursuant to the First Step Act of 2018, with all
24   other terms of the judgment unchanged.        The parties further stipulate
25   as follows:
26        1.    In 1995, defendant was convicted of (1) possessing 59.39
27   grams of crack cocaine with intent to distribute, 21 U.S.C.
28   § 841(b)(1)(A) (count one), (2) possessing a firearm during an in
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1    relation to a drug-trafficking offense, 18 U.S.C. § 924(c) (count

2    two), and (3) being a felon in possession of a firearm, 18 U.S.C.

3    § 922(g) (count three).      (PSR ¶¶ 3-5.)    In its calculation of the

4    applicable Guidelines range, the PSR concluded that defendant was a

5    career offender (PSR ¶¶ 37-38, 63), subject to a Guidelines range of

6    360 months to life, plus a five-year consecutive term under 18 U.S.C.

7    § 924(c).   (PSR ¶ 96.)

8         2.     In 1995, the quantity of cocaine base defendant possessed

9    (59.39 grams)--alongside at least two prior felony drug offenses--

10   required a mandatory life sentence.         21 U.S.C. § 841(b)(1)(A)(iii)

11   (1995).   (PSR ¶ 97.)    Defendant was sentenced to the mandatory

12   minimum term of life imprisonment, plus a five-year consecutive term

13   of imprisonment under 18 U.S.C. § 924(c).         (CR 134, 135, 150.)      The

14   term of imprisonment was ordered to be followed by three years of

15   supervised release, under conditions set by the court.           (Id.)   At

16   sentencing, the court (the Honorable Dickran M. Tevrizian) indicated

17   that, in the absence of a mandatory-minimum sentence, the court would

18   not have imposed a life sentence.

19        3.     On direct appeal, the Ninth Circuit vacated defendant’s

20   conviction on count two, after the government conceded that the facts

21   did not support the § 924(c) conviction.         United States v. Spearman,

22   96 F.3d 1452 (9th Cir. 1996) (unpublished).         In 1997, defendant was

23   resentenced to the same sentences previously imposed on counts one

24   and three, and the Ninth Circuit affirmed.         United States v.

25   Spearman, 168 F.3d 504 (9th Cir. 1999) (unpublished).           (CR 134.)

26        4.     In 2007, defendant filed a pro se motion for a reduced

27   sentence.   In denying that motion, the district court (the Honorable

28   Audrey B. Collins) noted that defendant “remains sympathetic” and

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1    “the just and reasonable sentence . . . would be 240 months.”

2    However, the court denied the motion in light of the then-still-

3    applicable mandatory-minimum sentence.

4         5.    In November 2015, this Court issued an order denying

5    defendant’s motion under 28 U.S.C. § 2255 related to defendant’s

6    prior felony drug offense and reforms under California’s drug laws,

7    namely Proposition 47.     (CR 237.)    Defendant’s appeal of that order

8    is currently pending before the Ninth Circuit Court of Appeals, as

9    United States v. Spearman, CA No. 16-55177.         (CR 240.)

10        6.    On December 21, 2018, the First Step Act was enacted.

11   First Step Act of 2018, S. 756, 115th Cong. (2018) (enacted but not

12   yet codified).    Section 404 of the Act states that the sentencing

13   court may, upon motion of the defendant, an attorney for the

14   government, or the court, “impose a reduced sentence as if section 2

15   and 3 of the Fair Sentencing Act of 2010 . . . were in effect at the

16   time the covered offense was committed.”

17        7.    The parties agree that defendant is eligible for a

18   reduction of his sentence under Section 404.            Specifically, had

19   Sections 2 and 3 of the Fair Sentencing Act of 2010 been in

20   effect at the time the offense was committed, defendant would

21   have been subject to a “term of imprisonment which may not be

22   less than 10 years and not more than life imprisonment.”               21

23   U.S.C. § 841(b)(1)(B)(2010).

24        8.    On January 18, 2019, the Ninth Circuit issued a published

25   order remanding to this court “with instructions that the district

26   court proceed with re-sentencing in light of, and in accordance with,

27   the First Step Act of 2018[.]”       (Exhibit 1.)    The Court noted,

28   consistent with the parties’ stipulation above, that defendant is now

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1    subject to a “term of imprisonment which may not be less than 10

2    years and not more than life imprisonment,” under 21 U.S.C.

3    § 841(b)(1)(B) (2010).

4         9.     According to records from the Bureau of Prisons, defendant

5    has served 24 years and 9 months to date.         Although he has not

6    received good time credits due to his life sentence, he would have

7    been entitled to good time credit for a term of less than life.                See

8    18 U.S.C. § 3624(b).     With such good time credit, defendant would now

9    have served the equivalent of a 341-month sentence (28 years, 5

10   months).    This exceeds the sentences that prior sentencing judges

11   have twice indicated would be appropriate in defendant’s case.

12   (Supra ¶¶ 2, 4.)

13        10.    The parties agree that, under the First Step Act, defendant

14   is eligible for immediate release.          Accordingly, pursuant to the

15   First Step Act, the parties respectfully request that this Court

16   issue an order reducing defendant’s sentence to 341 months’

17   imprisonment--the equivalent of a time-served sentence according to

18   Bureau of Prisons records.      The parties propose the following

19   language:

20        Defendant’s previously imposed sentence of imprisonment (as
          reflected in the last judgment issued) is reduced to 341
21        months of imprisonment, which consists of 341 months on
          Count One and 120 months on Count Three, to be served
22        concurrently. It is anticipated and intended that the
          reduced sentence is the equivalent of time served. All
23        other terms of the last judgment issued remain unchanged.

24   (Compare CR 134 (1997 J&C).)

25        11.    In exchange for the government’s agreement to request that

26   defendant be resentenced to a 341-month term of imprisonment,

27   defendant agrees that, upon the Court’s reduction of his sentence

28   pursuant to this stipulation, he will move to voluntarily dismiss his

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1    pending appeal of the denial of his prior motion under 28 U.S.C.

2    § 2255, United States v. Spearman, CA No. 16-55177.

3         12.    The undersigned counsel for defendant affirms that he

4    has discussed this stipulation with defendant and that defendant

5    has authorized counsel to enter into this agreement on his

6    behalf.    The undersigned counsel also affirms that, so long as

7    the Court accepts this stipulation, defendant waives his rights,

8    if any, to be present when the Court reduces his sentence, to any

9    hearing, and to any findings to which he might be entitled.                The

10   defendant has so indicated, and counsel joins in that waiver.

11   Dated: January 24, 2019              Respectfully submitted,

12                                        NICOLA T. HANNA
                                          United States Attorney
13
                                          LAWRENCE S. MIDDLETON
14                                        Assistant United States Attorney
                                          Chief, Criminal Division
15

16                                             /s/
                                          L. ASHLEY AULL
17                                        Assistant United States Attorney
                                          Chief, Criminal Appeals Section
18
                                          Attorneys for Plaintiff
19                                        UNITED STATES OF AMERICA

20
     Dated: January 24, 2019
21
                                                /s/
22                                        MICHAEL ROMANO
                                          Stanford Law School
23                                        Three Strikes Project

24                                        Attorney for Defendant
                                          IRA VINCENT SPEARMAN
25

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                            FOR PUBLICATION

          UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT


        UNITED STATES OF AMERICA,                No. 16-55177
                   Plaintiff-Appellee,
                                                   D.C. No.
                       v.                    2:93-cr-01027-TJH-1

        IRA VINCENT SPEARMAN,
                 Defendant-Appellant.                ORDER



                            Filed January 18, 2019

       Before: Sidney R. Thomas, Chief Judge, and Kim McLane
            Wardlaw and Marsha S. Berzon, Circuit Judges.

                                    Order




                                                                 Exhibit 1
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       2                UNITED STATES V. SPEARMAN

                                 SUMMARY *


                            First Step Act of 2018

           The panel remanded a criminal case with instructions
       that the district court proceed with re-sentencing in light of,
       and in accordance with, the First Step Act of 2018.

           Under the First Step Act, a court that imposed a sentence
       for a covered sentence may impose a reduced sentence as if
       sections 2 and 3 of the Fair Sentencing Act of 2010 were in
       effect at the time the covered offense was committed. The
       panel wrote that had section 2 of the Fair Sentencing Act of
       2010 been in effect at the time the defendant committed his
       offense, he would have been subject to “a term of
       imprisonment which may not be less than 10 years and not
       more than life imprisonment.”

          The panel remanded for this limited purpose only and
       without prejudice to the arguments made on appeal. The
       panel retained jurisdiction over the certified claims in the 28
       U.S.C. § 2255 appeal.


                                  COUNSEL

       Michael Romano (argued) and Sophie Wood, Three Strikes
       Project, Stanford Law School, Stanford, California, for
       Defendant-Appellant.



           *
             This summary constitutes no part of the opinion of the court. It
       has been prepared by court staff for the convenience of the reader.



                                                                         Exhibit 1
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                      UNITED STATES V. SPEARMAN                     3

       Elana Shavit Artson (argued), Assistant United States
       Attorney, Criminal Appeals Section; L. Ashley Aull, Chief,
       Criminal Division; Nicola T. Hanna, United States Attorney;
       United States Attorney’s Office, Los Angeles, California;
       for Plaintiff-Appellee.



                                 ORDER

             This case is remanded with instructions that the district
       court proceed with re-sentencing in light of, and in
       accordance with, the First Step Act of 2018, S. 756, 115th
       Cong. (2018) (enacted but not yet codified). Under the Act,
       “[a] court that imposed a sentence for a covered offense may,
       on motion of . . . the court, impose a reduced sentence as if
       sections 2 and 3 of the Fair Sentencing Act of 2010 (Public
       Law 111-220; 124 Stat. 2372) were in effect at the time the
       covered offense was committed.” First Step Act § 404(b).
       Had section 2 of the Fair Sentencing Act of 2010 been in
       effect at the time Spearman committed his offense, he would
       have been subject to “a term of imprisonment which may not
       be less than 10 years and not more than life imprisonment
       . . . .” 21 U.S.C. § 841(b)(1)(B).

           This case is remanded for this limited purpose only and
       without prejudice to the arguments made on appeal. We
       retain jurisdiction over the certified claims in the 28 U.S.C.
       § 2255 appeal. The parties shall bear their own costs of
       appeal.

           REMANDED.




                                                                   Exhibit 1
